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                 UNITED STATES BANKRUPTCY COURT
                                  Western District of Kentucky
        IN RE:                                                        Case No.:20−10057−jal
        Joe David Pitcock
                                                                      Chapter: 13
                                   Debtor(s)                          Judge: Joan A. Lloyd




                                               NOTICE
        TO THE DEBTOR(S) AND ALL PARTIES IN INTEREST:

        Please be advised that the following matter has been Entered by the Court on this date:

        ***MATTER RESCHEDULED DUE TO COVID−19 PANDEMIC*** Order of the
        Court to RESCHEDULE the hearing set for April 16, 2020 on Motion to Strip Off
        Junior Lien of The Medical Center at Albany, et al regarding House & 1 acre located at
        12385 Glasgow Road, Burkesville, KY 42717. Filed by Debtor Joe David Pitcock. 15 ,
        so ORDERED by /s/ Judge Lloyd. Hearing is rescheduled for 5/21/2020 at 09:00 AM at
        Warren Co Justice Center, Circuit Courtroom B, 1001 Center St, Bowling Green, KY
        42101(CENTRAL TIME).cc: parties of record (Goss, K)This Notice of Electronic
        Filing is the Official ORDER for this entry. No document is attached.



        Dated: 3/31/20
                                                             FOR THE COURT
        By: kg                                               Elizabeth H. Parks
        Deputy Clerk                                         Clerk, U.S. Bankruptcy Court
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                                               United States Bankruptcy Court
                                               Western District of Kentucky
In re:                                                                                                     Case No. 20-10057-jal
Joe David Pitcock                                                                                          Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0644-1                  User: kgoss                        Page 1 of 1                          Date Rcvd: Mar 31, 2020
                                      Form ID: 266                       Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 02, 2020.
db             +Joe David Pitcock,   12385 Glasgow Rd.,   Burkesville, KY 42717-8560
cr             +First & Farmers National Bank f/k/a Bank of Cumber,   129 North Main Street,
                 Burkesville, KY 42717-8947

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 02, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 31, 2020 at the address(es) listed below:
              Charles R. Merrill   ustpregion08.lo.ecf@usdoj.gov
              Harlan E. Judd, III   on behalf of Creditor   First & Farmers National Bank f/k/a Bank of
               Cumberland Harlanjuddlaw@gmail.com, juddlawsecretary@gmail.com
              John C. Rogers   on behalf of Debtor Joe David Pitcock bankruptcy@glasgow-ky.com,
               r49650@notify.bestcase.com
              William W. Lawrence -13   ECF@louchapter13.com, ecf.bk.westky@gmail.com
                                                                                            TOTAL: 4
